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AO 440 (Rev. 05/00) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

SUMMONS IN A CIVIL CASE
ILUSTRATA SERVICOS DESIGN, LTDA.
CASE NUMBER: 1:23-cv-04824
V. ASSIGNED JUDGE:

LaShonda A. Hunt

PDD HOLDINGS, INC., a Cayman Islands
Corp., WHALECO, INC., a Delaware Corp.,
and DOES 1-10

DESIGNATED
MAGISTRATE JUDGE: Sunil R. Harjani

TO: (Name and address of Defendant)

PDD HOLDINGS, Inc.

Vistra (Cayman) Limited, P.O. Box 31119

Grand Pavilion, Hibiscus Way, 802 West Bay Road
Grand Cayman, KY1-1205, Cayman Islands

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Vivek Jayaram

Elizabeth Austermuehle

Palak V. Patel

JAYARAM PLLC

54 W. 21st St., Suite 801

New York. NY 10010
an answer to the complaint which is herewith served upon you, i days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. riba ibe

July 25, 2023

int

(By) DePuy CLERK DATE
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AO 440 (Rev. 05/00) Summons in a Civil Action

RETURN OF SERVICE
DATE
Service of the Summons and complaint was made by me" Thursday 3 August 2023 at 3.55pm
NAME OF SERVER (PRINT) TITLE
Sally Crane Ms

Check one box below to indicate appropriate method of service

Ww Served personally upon the defendant. Place where served: Registered Office - Vietra (Gayman) Limited located at

Grand Pavilion, Hibiscus Way, 802 West Bay Road, Grand Cayman. Service was accepted by Amanda Brown, Operations Manager.

O Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.

Name of person with whom the summons and complaint were left:

O Returned unexecuted:

O Other (specify):

STATEMENT OF SERVICE FEES

TRAVEL SERVICES TOTAL
0 140.00 140.00
DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on 8 August 2023 hlhky Crane

Date Signature of Serve}

Priestleys, 2nd Fl Caribbean Plaza, 878 West Bay Road, Grand Cayman
Address of Server

(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
